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AO 91 (Rev. 08/09} Criminal Complaint Mtoe

  

 

  

 

 

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UNITED STATES DISTRICT Count Lah OFT
for the 2026 fAY
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Northern District of Texas an ID: 23
United States of America } PUTY CLERE. res
v. )
} Case No.
Samuel Lynn Johnson )
)
Defendant(s) ) 0 5 i
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of July 2018 to January 2019 in the county of Scurry in the
Northern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. Sections 2252A(a){5)(B) From in or about July 2018 to in or about January 2019, in the Lubbock Division of
and 2252A(b)(2) the Northern District of Texas, and elsewhere, Samuel Lynn Johnson, defendant, did

knowingly possess material which contained a least one image of child pornography,
as defined in Title 18, United States Code, Section 2256(8)(A), that involved a
prepubescent minor and a miner who had not attained 12 years of age, and which was
mailed, shipped, and transported using any means and facility of, and in affecting
interstate and foreign commerce, by any means, including by computer.

This criminal complaint is based on these facts:
See attached affidavit

* Continued on the attached sheet.

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Complainant's sig 8 SiDRAUTe

Kaith Quigley, FBl Special Agent
Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone this 13 19 Bay of
May 2020. ey ;

  

Date:

 

 

Judge's signatigge

City and state: Lubbock, Texas D. Gordon Bryant, Jr, U.S. Magistrate Judge
Printed name and title

   
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AFFIDAVIT IN SUPPORT OF COMPLAINT

1. My name is Keith Quigley. Iam a Special Agent (SA) employed by the
Federal Bureau of Investigation (FBI), United States Department of Justice, and I have
been so employed for 22 years. I have been assigned to the Lubbock, Texas, Resident
Agency since 1998. I have handled many investigations involving child exploitation and
child pornography. As an FBI SA, I am authorized to investigate crimes involving the
sexual exploitation of children in violation of Title 18, United States Code, Sections
2252A(a)(5)(B) and 2252A(b)(2) makes it a federal offense to knowingly possess any
material that contains an image of child pornography that has been mailed, or shipped or
transported using any means or facility of interstate or foreign commerce or in or
affecting interstate or foreign commerce by any means, including by computer, or that
was produced using materials that have been mailed, shipped or transported in or
affecting interstate or foreign commerce by any means, including by computer. I am the
case agent on a possession of child pornography case in which Samuel Lynn Johnson is
the target.

2. In my training and experience, I have found that virtually all cellular
telephones constitute a means or facility of interstate or foreign commerce. They also use
the Internet, a means or facility of interstate and foreign commerce.

3. The National Center for Missing and Exploited Children (NCMEC)
forwarded Cybertip (CT) report #49395969 to the Snyder Police Department (SPD) for

investigative review. The CT related to Tumblr reporting child pornography was being

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uploaded to Tumblr account “deafeningheropastapizza” associated with email address

tutlesam0000@email.com.

 

4, One image titled “180472998214 | inline image.jpg” depicts a
prepubescent female, believed to be between 6-10 years old, performing oral-genital

sexual intercourse with an adult male.

5. Another image titled “180886241069 0 inline imagejpg” depicts a
prepubescent female, between 6-10 years old, lying on a mattress with her dress pulled
up, no panties on with her legs spread open exposing her vulva with what appears to be

semen on it.

6. Both of the images described above are child pornography as defined in
Title 18, United States Code, Section 2256(8). The last date of login to the above stated
Tumbir account was January 18, 2019, 00:02:13 -0500, Internet Protocol Address. A

subpoena for the above stated IP address returned to the following:

Name: Nicky Johnson

Address: 2302 Sunset Avenue, Snyder Texas
The SPD determined Nicky has son by the name of Samuel Johnson.

A copy of Samuel Johnsons Texas driver’s license application revealed he uses the email

address turtlesam0000@email.com.

 

7. On May 14, 2020, Affiant and SPD Detective Lea Tarter interviewed

Samuel Johnson who admitted using the above stated Tumbir account (on his cellular

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telephone) to actively view, search and save child pornography. Samuel also

acknowledged residing in Snyder, Texas when he did this.

8. On May 14, 2020, Texas Department of Public Safety Special Agent Roy
Basham interviewed Samuel Johnson after Affiant left the Snyder Police Department.
During the interview Samuel told SA Basham about a visit to Snyder, TX by his 7 year
old niece during the summer of 2019. Samuel’s niece was staying at the residence where
he lived with his parents in Snyder, TX. Samuel admitted to SA Basham that he was
lying in bed with his niece and he placed his hand inside of her panties and rubbed on her

vulva.

9. For the reasons described above, I respectfully request an arrest warrant be
issued for the arrest of Samuel Lynn Johnson for violating Title 18, United States Code,

Section 2252A(a)(5)(B) and 2252A(b)(2), Possession of Child Pornography Involving a

IK

Keith Quigley

Special Agent

Federal Bureau of Investigation
Lubbock, Texas

Prepubescent Minor.

 

Pursuant to Federal Rules of Criminal Procedure 4.1 and 41 (d)(3), the undersigned

judicial officer has on this date considered the information communicated by reliable

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electronic means in considering whether a complaint, warrant, or summons will issue. In
doing so, I have placed the affiant under oath, and the affiant has confirmed that the
signatures on the complaint, warrant, or summons and affidavit are those of the affiant,
that the document received by me is a correct and complete copy of the document
submitted by the affiant, and that the information contained in the complaint, warrant, or

summons and affidavit is true and correct to the best of the affiant’s knowledge.

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone this / 5 % of May 2020. _

 
 

E tL
D. GORDON BRYANTAIR.
UNITED STATES MAGISTRATE JUDGE

 

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